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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03010 (SGJ)
                                                                        )
HIGHLAND CAPITAL MANAGEMENT FUND                                        )
ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.,                             )
                                                                        )
                             Defendants.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

     I, Elliser Silla, depose and say that I am employed by Kurtzman Carson Consultants LLC
(“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 4, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Stipulation (A) Amending Scheduling Order and (B) Consolidating and Resolving
          Certain Matters [Docket No. 36]


Dated: August 6, 2021
                                                          /s/ Elliser Silla
                                                          Elliser Silla
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                         Exhibit A
                                                                   Adversary Service List
                                                                  Served via Electronic Mail



                Description                              CreditorName                  CreditorNoticeName                          Email
Financial Advisor to Official Committee of                                       Earnestiena Cheng, Daniel H       Earnestiena.Cheng@fticonsulting.com;
Unsecured Creditors                             FTI Consulting                   O'Brien                           Daniel.H.O'Brien@fticonsulting.com
                                                                                 Melissa S. Hayward, Zachery Z.    MHayward@HaywardFirm.com;
Counsel for the Debtor                          Hayward & Associates PLLC        Annable                           ZAnnable@HaywardFirm.com
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Fund Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                    A. Lee Hogewood, III              Lee.hogewood@klgates.com
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                    Artoush Varshosaz                 artoush.varshosaz@klgates.com
Counsel for Highland Capital Management
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Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                    James A. Wright III               james.wright@klgates.com
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Highland Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                    Stephen G. Topetzes               stephen.topetzes@klgates.com
Counsel for UBS Securities LLC and UBS AG                                        Andrew Clubok, Sarah              andrew.clubok@lw.com;
London Branch                                   Latham & Watkins LLP             Tomkowiak                         sarah.tomkowiak@lw.com
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London Branch                                   Latham & Watkins LLP             Posin                             kim.posin@lw.com
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Highland Income Fund, NexPoint Strategic                                         Davor Rukavina, Esq., Julian P.   drukavina@munsch.com;
Opportunities Fund and NexPoint Capital Inc.    Munsch Hardt Kopf & Harr, P.C.   Vasek, Esq.                       jvasek@munsch.com
                                                                                                                   mclemente@sidley.com;
                                                                                 Matthew Clemente, Alyssa          alyssa.russell@sidley.com;
Counsel for Official Committee of Unsecured                                      Russell, Elliot A. Bromagen,      ebromagen@sidley.com;
Creditors                                   Sidley Austin LLP                    Dennis M. Twomey                  dtwomey@sidley.com
                                                                                                                   preid@sidley.com;
                                                                                 Penny P. Reid, Paige Holden       pmontgomery@sidley.com;
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Creditors                                   Sidley Austin LLP                    Chandler M. Rognes                crognes@sidley.com




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                             EXHIBIT B
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                                                                                           Exhibit B
                                                                                     Adversary Service List
                                                                                   Served via First Class Mail


                Description                          CreditorName                 CreditorNoticeName                     Address1                    Address2           City   State      Zip
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors,
L.P., Highland Income Fund, NexPoint
Strategic Opportunities Fund and NexPoint                                                                        4350 Lassiter at North Hills
Capital Inc.                                K&L Gates LLP                    A. Lee Hogewood, III                Avenue Suite 300                                   Raleigh    NC      27609
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Strategic Opportunities Fund and NexPoint                                                                        1717 Main Street, Suite
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Strategic Opportunities Fund and NexPoint
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Strategic Opportunities Fund and NexPoint
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Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors,
L.P., Highland Income Fund, NexPoint
Strategic Opportunities Fund and NexPoint                                    Davor Rukavina, Esq., Julian P.
Capital Inc.                                Munsch Hardt Kopf & Harr, P.C.   Vasek, Esq.                         3800 Ross Tower                500 N. Akard Street Dallas     TX      75202




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